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 5
     Attorney for Defendant
 6
     CLIFFORD BULLOCK
 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12
     UNITED STATES OF AMERICA,                   )       NO 2:12-cr-00169
                                                 )       ORDER
13                          Plaintiff,           )
             v.                                  )
14                                               )
15   CLIFFORD BULLOCK                            )
                                                 )
16                     Defendant.                )
     _________________________________           )
17

18
             IT IS HEREBY ORDERED that defendant Clifford Bullock be transported from the
19
     Sacramento County Jail to the United States Marshal’s Office by 1:00 p.m. on December 14,
20

21   2013.   It is further ordered that Mr. Bullock be released to Ms. Lisa Gara, the defense

22   investigator, who will serve as a third party custodian of Mr. Bullock. Ms. Gara is directed to
23
     transport and accompany Mr. Bullock to the defendant’s grandmother’s funeral at Kingdom Hall,
24
     13980 County Road 99, in Woodland, California for the purpose of attending the funeral of Ms.
25

26   Katherine Owens. Ms. Gara is ordered to return defendant Clifford Bullock to the United States

27   Marshal’s Office upon the conclusion of the funeral service, and in no event later than 6:30 p.m.
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              Case 2:12-cr-00169-TLN Document 205 Filed 12/11/13 Page 2 of 2


 1   on December 14, 2013. Mr. Bullock is ordered to comply with all directions of third party
 2
     custodian Lisa Gara.
 3
            IT IS SO ORDERED.
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 5
     Dated: December 11, 2013

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